      Case 1:18-cv-06626-ALC-KNF Document 212 Filed 11/06/20 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
Actava TV, Inc., Master Call Communications, Inc.,          )
Master Call Corporation, and Rouslan Tsoutiev,              )
                                                            ) Index No.: 1:18-cv-06626
                                       Plaintiffs,          ) (ALC/KNF)
                                                            )
              -against-                                     )
                                                            )
Joint Stock Company “Channel One Russia Worldwide,”         )          AMENDED
Closed Joint Stock Company “CTC Network,” Closed            )        SCHEDULING
Joint Stock Company “New Channel”, Limited Liability        )        ORDER NO. 8
Company “Rain TV-Channel,” Open Joint Stock                 )
Company “ACCEPT”, and Limited Liability Company             )
“Comedy TV,” and Kartina Digital GmbH,                      )
                                                            )
                                       Defendants.          )
                                                            )

       Counsel for Plaintiffs and Defendants jointly submit the following [proposed] amended

case management plan and scheduling order, which the parties propose should supersede the

Amended Scheduling Order (ECF No. 187) entered by the Court on October 19, 2020:

       1.     This case is to be tried to a jury.

       2.     Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) were exchanged on

February 22, 2019 by Plaintiffs, and on March 6, 2019 by Defendants. Plaintiffs provided

Defendants supplementary disclosures pursuant to Fed. R. Civ. P. 26(a)(2) and 26(e) on

September 9, 2020.

       3.     No additional parties may be joined except with leave of the Court.

       4.     Amended pleadings may not be filed except with leave of the Court.

       5.     All fact discovery shall be completed on or before January 11, 2021.

       6.     Plaintiffs served initial requests for production of documents and interrogatories

on November 1, 2018; and Defendants served initial requests for production of documents and

interrogatories on January 18, 2019.
      Case 1:18-cv-06626-ALC-KNF Document 212 Filed 11/06/20 Page 2 of 3




       7.      The parties are to conduct discovery in accordance with the Federal Rules of Civil

Procedure and the Local Rules of the Southern District of New York. The following interim

deadlines may be extended by the parties on consent without application to the Court, provided

that the parties meet the deadline for completing fact discovery set forth in Paragraph 5 above.

               a.     Fact depositions shall be completed by January 11, 2021 via audio-video

conferences.

                      i.      There is no priority in deposition by reason of a party’s status as a

                              plaintiff or a defendant.

                      ii.     Absent an agreement between the parties or an order from the

                              Court, non-party depositions shall follow initial party depositions.

               b.     Requests to Admit shall be served no later than January 25, 2021.

               c.     The designation of Plaintiff’s expert(s) was completed on September 9,

                      2020; the designation of the Defendant’s rebuttal expert(s) shall be

completed by November 11, 2020.

               d.     The Initial Report(s) of Plaintiffs’ expert(s) shall be exchanged by

January 7, 2021, followed by the Defendants’ expert(s)’ rebuttal report(s) by January 28, 2021,

and Plaintiffs’ expert’s reply report, if any, by February 11, 2021.

               e.     Expert depositions shall be completed by February 19, 2021 via audio-

video conferences.

               f.     All discovery shall be completed by February 19, 2021.

8.     This Court will conduct a telephonic status conference on January 13, 2021, at 11:00 a.m.,

via dial-in number (888) 557-8511 and access code 4862532.
  Dated: New York, New York                                        SO ORDERED:
  November 6, 2020

                                                                    Kevin Nathaniel Fox, U.S.M.J.

                                                 2
Case 1:18-cv-06626-ALC-KNF Document 212 Filed 11/06/20 Page 3 of 3
